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                  UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                               WACO DIVISION
                               WACO


DROPBOX INC                                §
                                           §
vs.                                        §     NO:   WA:20-CV-00251-ADA
                                           §
MOTION OFFENSE, LLC, MOTION                §
OFFENSE, LLC, DROPBOX INC

        ORDER RESETTING FINAL Pretrial CONFERENCE
                        Final PRETRIAL Conference

      IT IS HEREBY ORDERED that the above entitled and numbered case is Reset
                                                                        reset for

FINAL PRETRIAL CONFERENCE by Public Zoom
                                    Zoom on May 10, 2023 at 04:00 PM .



                                    25th day of April, 2023.




                                               Alan D Albright
                                               UNITED STATES DISTRICT JUDGE
